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CALENDAR : MAGISTRATE’S PROCEEDING

BEFORE MAG. JUDGE Vera M. Scanlon DATE : 2/5/2019

DOCKET NUMBER : 18CR204(NGG) FTR# 5:07-6:19

DEFT NAME : Keith Raniere ATTY: Mare Agnifilo/Danielle Smith
__Present\-Not Present__Custody__Bail __ Federal Defender _ CJA \

DEFT NAME : Clare Bronfman ATTY: Kathleen Cassidy 2
__ Present Not Present__Custody__Bail __ Federal Defender _ CJA Ret

A.U.S.A : Shannon Jones DEPUTY CLERK : K. Quinlan

Other Rulings :As to Defendants’ assertion of privilege, the taint team will provide an additional

list of documents for which they dispute privilege to Defendants by 2/11/2019. Defendants wil]

state any disagreements they have as to the Government’s position on privilege by 2/19/2019.

Defendants will submit the disputed documents with argument to the Court ex parte (and as

appropriate to the taint team) by 2/19/2019. The government may submit a response by 2/25/2019.
As to the privilege motion at [256]. oral argument is scheduled for 2/11/2019 at 12:30 PM before

Magistrate Judge Vera M. Scanlon in Courtroom 13A South.

